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lN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
MICHAEL DAILY, §
§
Plaintiff, §
§
VS. § CIVIL ACTION NO.
§ 3:10-CV-00201
DALLAS COUNTY COMMUNITY §
COLLEGE DISTRICT, §
§
Defendant §

DEFENDANT'S ORIGINAL ANSWER
TO PLAINTIFF'S FIRST AMENDED ORIGINAL COMPLAINT

Dallas County Community College District ("Defendant") files its 01iginal Answer to
Plaintift"s First Amended Original Complaint (the “Complaint”), and Would respectfully show
the Court as follows (headings and subheadings correspond to those used in the First Amended
Original Cornplaint):

I.
THE PARTIES

l.l Upon information and belief, Defendant admits the allegations of this paragraph

1.2 Defendant admits the allegations in the first two sentences of Paragraph l.2 of the
Complaint. Defendant further admits it Was served With l’laintift`s Complaint and Plaintiff
brings claims pursuant to Title Vll of the Civil Rights Act of 1964, Chapter 21 of the Texas
Labor Code, and for federal and state constitutional and/or statutory violations, for breach of
contract, and under the Federal Declaratory Judgment Act, but denies Plaintiff is entitled to any
relief sought. Defendant denies the remainder of the allegations in Paragraph 1.2 of the

Complaint and denies that Plaintiff’s claims have any merit.

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II.
JURISDICTION AND VENUE

2.] Defendant admits this Court has jurisdiction over this matter, but denies the
remaining allegations in Paragraph 2.1 of the Complaint

2.2 Defendant admits this Court has jurisdiction over this matter, but denies the
remaining allegations in Paragraph -2.2 of the Complaint

2.3 Defendant admits the allegations contained in Paragraph 2.3 of the Complaint.

2.4 Defendant admits Plaintiff has asserted state law claims in this matter and that the
Court has jurisdiction over those claims, but denies the remaining allegations in Paragraph 2.4 of
the Complaint.

2.5 Defendant admits it resides in Dallas County and that all of the actions
complained of by Plaintiff occurred in Dallas County, but denies that Plaintiff is entitled to
recover on any claims. Defendant further admits that Dallas County is in the Northern Distn`ct of
TeXas and that venue is proper in the Northern District of Texas, but denies the remaining
allegations in Paragraph 2.5 of the Complaint.

2.6 Defendant admits a controversy exists between the parties Within the meaning of
28 U.S.C. § 2201 and that the Court may exercise its powers under § 2201, but denies the
remaining allegations contained in Paragraph 2.6 of the Complaint.

III.
FACTUAL BACKGROUND

3.1 Defendant admits that Plaintiff is a current employee and that he has been an
employee since 2000. Defendant admits that Plaintiff worked for a time at the Service Center,

has been actively involved in Defendant’s prison pro gram, and has been a full-time instructor for

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a time at Cedar Valley College. Except as expressly admitted, Defendant denies the remaining
allegations of this paragraphl '

3 .2 Defendant admits that Plaintiff had involvement in the federal prison program and
at the state prison program in and around Hutchins, Texas. Defendant admits that Plaintiff
ceased being a coordinator of a prison program in 2009. Defendant continues to research the
remaining allegations of this paragraph and must deny same at this time.

3.3 Defendant denies the allegations of this paragraph

3.4 Defendant admits that full-time faculty members must teach a full load to receive
full compensation Defendant admits that Plaintiff for a period of time received a forty percent
(40%) release because of coordinator duties associated With prison programs Defendant admits
that over time, Plaintiff requested that courses assigned to his base load be taught at the Cedar
Valley campusl Defendant denies that there is a historical or customary practice applicable to all
faculty regarding extra service classes, but admits that Plaintiff taught a number of extra service
classes. Except as expressly admitted, Defendant denies the remaining allegations of this
paragraph

3.5 Defendant admits that Plaintiff and a representative or representatives of Cedar
Valley College administration had discussions about Plaintift’s teaching, load, request for
administrative assistance at the prison program, and request to teach more classes on campus.
Defendant admits that Plaintiff is qualified to teach certain classes offered through the Cedar
Valley Campus. Except as expressly admitted, Defendant denies the remaining allegations of
this paragraph

3.6 Defendant admits that Plaintiff and Dean Johnson had discussions about

Plaintift’s teaching duties, and that Dean Johnson at that time preferred that Plaintiff teach any

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additional base load courses in the prison program for Which Plaintiff Was the coordinator.
Defendant admits that Plaintiff claimed that Dean Johnson’s ideas violated a “reduction criteria”
policy but denied that Plaintiff s claim had merit. Except as expressly admitted, Defendant
denies the remaining allegations of this paragraph

3.'7 Defendant admits that Dean Johnson is African American. Defendant admits that
Sheila Simon, also serving as coordinator of a prison program, is African American. Defendant
admits that Ms. Simon Was only teaching one base load class on campus compared to Plaintist
three and that by permitting Ms. Simon to teach an additional class on campus, more equity Was
achieved Defendant categorically denies and finds insulting any suggestion by Plaintiff that just
because an administrator of a different race, a decision With Which Plaintiff disagrees is racially
motivatedl Except as expressly adrnitted, Defendant denies the remaining allegations of this
paragraph

3.8 Defendant admits that for a period of time Plaintiff and Ms. Simon Were
coordinators for prison programs Defendant admits that Plaintiff had a longer tenure as a
coordinator in a prison program than Ms. Simon. Defendant admits that Plaintiff helped start the
prison program through Cedar Valley College and that the program began in the federal prison
system and expanded into the state prison system Defendant admits that Plaintiff transferred
from the federal system to the state and that Ms. Simon replaced him in the federal program.
Defendant admits that currently the state prison program is larger than the federal prison
program. Except as expressly admitted, Defendant denies the remaining allegations of this
paragraph

3.9 Defendant denies the allegations of this paragraph

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3.10 Defendant denies the first sentence of this paragraph Defendant admits that
Plaintiff is qualified to teach certain courses offered at Cedar Valley College. Defendant admits
that Dr. Minger has at Plaintiff s request arranged for Plaintiff to teach courses at Cedar Valley.
Except as expressly admitted, Defendant denies the remaining allegations of this paragraph

3.11 Defendant admits that Dr. Wimbish suggested the use of Dr. Tully to facilitate
communication on scheduling Defendant admits that Dean Johnson initially presented Plaintiff
With a proposed schedule With two base load classes on campus and one at the prison program
where Plaintiff Was coordinator. Defendant admits that it modified the Schedule at Plaintiff s
request Except as expressly admitted, Defendant denies the remaining allegations of this
paragraph

3.12 Defendant admits it agreed to keep Plaintiff advised of campus classes and Would
Worl< cooperatively With Plaintiff on his schedule, Which Defendant did Except as expressly
admitted, Defendant denies the remaining allegations of this paragraph

3 . 13 Defendant denies the allegations of this paragraph

3.14 Defendant admits that Plaintiff Was presented With a Schedule that had him
teaching two base load classes on campus and one at the prison program he coordinated
Defendant admits that Ms. Simon, his peer as a prison program coordinator, also received a
Schedule that had her teaching two base load classes on campus and one at the prison program
she coordinated Defendant admits that Plaintiff had more time as a prison coordinator than Ms.
Simon. Except as expressly admittedJ Defendant denies the remaining allegations of this
paragraph

3.15 Defendant denies that any of Dean Johnson’s actions Were racially motivated or is

the product of intentional race or color discrimination and takes exception to any contention that

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a decision With which Plaintiff disagrees is racially motivated Defendant agrees that it gave
Plaintiff a Christmas holiday assignment for twenty-seven (27) hours of work and paid Plaintiff
for twenty-seven (27) hours of work. Except as expressly admitted, Defendant denies the
remaining allegations of this paragraph

3.16 Defendant denies that Dean Johnson refused to provide Plaintiff an evaluation,
but admits there was a delay in getting the evaluation to Plaintiff Defendant has insufficient
information to admit or deny if Plaintiff sent an email to Dean Johnson. Except as expressly
admitted, Defendant denies the remaining allegations of this paragraph

3.17 Defendant denies the allegations of this paragraph

3.18 Defendant denies the allegations of this paragraph

3.19 Defendant admits that Dean Johnson discussed the fairness of Plaintiff and Ms.
Simon having similar base loads on campus. Except as expressly admitted, Defendant denies the
remaining allegations of this paragraph

3.20 Defendant admits that Plaintiff and Ms. Simon were the two prison program
coordinators. Defendant admits that Plaintiff had served as a prison program coordinator longer
than Ms. Simon. Except as expressly admitted, Defendant denies the remaining allegations of
this paragraph

3.2] Defendant denies the allegations of this paragraph

3.22 Defendant denies that there was any discriminatory or retaliatory conduct.
Defendant admits that Plaintiff filed a grievance against Dean Johnson. Defendant admits that
Plaintiff filed an EEOC Charge. Except as expressly admitted, Defendant denies the remaining

allegations of this paragraph

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3.23 Defendant denies that Dr. J ones or anyone else retaliated against Plaintiff
Defendant admits that in late April, Dr. J ones was provided with a copy of Plaintiff" s grievance
Defendant admits that the grievance procedure suggests that the person advancing the grievance
should be interviewed Defendant admits that Dr. J ones did not interview Plaintiff at that time.
Except as expressly admitted, Defendant denies the remaining allegations of this paragraph

3 .24 Defendant has insufficient information to admit or deny that Plaintiff sent a email.
Defendant admits that Dr. J ones issued her response to the grievance on or about May 6, 2009.
Except as expressly admitted, Defendant denies the remaining allegations of this paragraph

3.25 Defendant admits that the grievance procedure suggests an interview with the
person bringing the grievance. Defendant states that Dr. Jones’ written response speaks for
itself. Except as expressly admitted, Defendant denies the remaining allegations of this
paragraph

3.26 Defendant admits that a meeting occurred on or about May 12, 20009 between
Dr. lones, Plaintiff, Dr. Thompson and Ms. Speck. Defendant denies that Dr. Jones stated that
she was monitoring Plaintiff Defendant admits that Dr. l ones stated that Plaintiff had a talent
for lifting a statement out of context, a form of manipulationl Defendant admits that Dr. J ones
asked Plaintiff if he wanted to continue as coordinator of a prison program. Defendant also
admits that Dr. J ones questioned PlaintiffJ s desire to continue as program coordinator. Except as
expressly admitted, Defendant denies the remaining allegations of this paragraph

3.27 Defendant admits that Dr. Jones expressed her belief that Dean Johnson was
treating Plaintiff fairly and would do so in the future. Defendant admits that Dr. J ones discussed
the use of a third person to rebuild trust between Plaintiff and Dean Johnson. Except as

expressly admitted, Defendant denies the remaining allegations of this paragraph

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3.28 Defendant categorically denies that there was a threat, Written or otherwise
Defendant admits that Dr. Jones stated that Defendant had no obligation to guarantee Plaintiff or
any other facility member extra service classes Defendant admits that Dr. Jones stated she
would review her findings in light of statements made at the meeting Except as expressly
admitted, Defendant denies the remaining allegations of this paragraph

3.29 Defendant admits that after the meeting had concluded, Dr. Jones advised
Plaintiff that there were reports of Plaintiff leaving class early, among other departures from
teaching expectations Defendant denies that Dr. Jones linked Plaintiff"s schedule to the reports
Defendant admits that Plaintiff"s most recent evaluation contained a favorable rating Defendant
denies that Plaintiff received a three (3) year contract Except as expressly admitted, Defendant
denies the remaining allegations of this paragraph

3.30 Defendant admits that Plaintiff and Dr. Jones met on or about May 20, 2009.
Defendant admits that Dr. l ones discussed temporarily relieving Plaintiff from prison coordinator
duties while Cedar Valley evaluated the prison program. Defendant admits that Dr. J ones and
Plaintiff discussed various teaching options Except as expressly admitted, Defendant denies the
remaining allegations of this paragraph Defendant denies that Plaintiff required any protection
from Dean Johnson.

3.31 Defendant has insuchient information regarding Plaintiff’ s alleged
communications with the Texas Department of Criminal Justice and must deny same at this time.
Except as expressly admitted, Defendant denies the remaining allegations of this paragraph

332 Defendant denies the allegations of this paragraph

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3.33 Defendant admits that Plaintiff filed a grievance against Dr. J ones and that
Plaintiff forwarded the grievance to Dr. Wimbish Except as expressly admitted, Defendant
denies the remaining allegations of this paragraph

3 .34 Defendant admits that Plaintiff filed a grievance against Dr. Wimbish and that the
grievance was forwarded to Defendant’s Chancellor. Defendant admits that the Chancellor
appointed Executive Vice Chancellor Ed DesPlas to serve as a grievance officer. Except as
expressly admitted, Defendant denies the remaining allegations of this paragraph

3.35 On information and belief Defendant admits that Plaintiff received a letter from
the Chancellor which contained several recommendations that required action by Cedar Va.lley.
Defendant admits that the Chancellor suggested the use of an ombudsperson to facilitate
communications Defendant admits that the letter was addressed to Plaintiff and Dr. Wimbish

3.36 Defendant admits that the Chancellor’s letter referenced Plaintiff’s allegations and
acknowledged his grievances and EEOC Charge. Defendant fln'ther states that the letter speaks
for itself. Except as expressly admitted, Defendant denies the remaining allegations of this
paragraph

3.37 Defendant admits that the Chancellor’s letter contained language akin to that
listed by Plaintiff; however, a word for word comparison has been conducted

3.38 Defendant admits that Dr. Thompson and Plaintiff met with Dr. Wimbish on or
about October 12, 2009. Defendant admits that Dr. Wimbish expressed that she had not had time
to study the Chancellor’s letter and that she night need clarification from the Chancellor. Based
upon Defendant’s investigation to date, Defendant cannot admit or deny the remaining

allegations of this paragraph and must deny same at this time.

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3.39 Defendant admits that Dr. Wimbish stated that she needed clarification about the
implementation date for the recommendations in the Chancellor’s letter. Defendant admits that
Dr. Wimbish called Plaintiff to explain that the Chancellor’s recommendations were to be
implemented beginning with the next semester and that Plaintiff should proceed to teach classes
at the prison as scheduled Except as expressly admitted, Defendant denies the remaining
allegations of this paragraph

3.40 Defendant admits that Dr. Thompson attempted to speak with Dr. Wimbish about
Plaintiff’ s schedule, but denies that it was a good time for a meeting and denies that Dr. Wimbish
intentionally made Dr. Thompson wait. Except as expressly admitted, Defendant denies the
remaining allegations of this paragraph

3.41 Defendant admits that Dr. Thompson and Dr. Wimbish had a mismatch of
schedules but admits that Dr. Wimbish called Dr. Thompson to report that the College expected
to have a schedule to Plaintiff shortly. Defendant admits that Dr. Wimbish reported that
Plaintiffs credentials were being reviewed, as were those of all Cedar Valley faculty, in
preparation for a SACS audit. Defendant admits that Cedar Valley on an ongoing basis is
reviewing the qualifications of all faculty to ensure that faculty are qualified to teach certain
courses Defendant admits that as part of that review, Plaintiff has b”een determined to be
qualified to teach a number of classes at Cedar Valley and in connection with the prison
program. Except as expressly admitted, Defendant denies the remaining allegations of this
paragraph

3.42 Defendant denies that Plaintiff was not consulted about his classes Defendant
admits that Plaintiff supplied Dr. Wimbish with emails Except as expressly admitted, Defendant

denies the remaining allegations of this paragraph

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3.43 Defendant admits that Dr. Thompson and Plaintiff met with l\/ls. Speck, that Ms.
Speck had a copy of the Chancellor’s lettcr, and that there was a recommendation made that the
Chancellor’s letter be shared with Dr. Vivian Lilly and Dean Johnson. Defendant admits that Dr.
Lilly was the new Vice President of lnstruction. Except as expressly admitted, Defendant denies
the remaining allegations of this paragraph

3.44 Defendant admits that Plaintiff and Dr. Thompson met with Dr. Lilly and Dean
Johnson. Defendant denies that Dr. Minger refused or failed to attend Defendant admits that
the parties to the meeting agreed that Ms. Simon need not attend Defendant admits that Plaintiff
and Dr. Thompson recommended that Dr. Lilly and Dean Johnson receive a copy of the
Chancellor’s letter. Because of a miscommunication, Defendant admits that there was confusion
about whether the proposed schedule for Plaintiff complied with the Chancellor’s letter. Except
as expressly admitted, Defendant denies the remaining allegations of this paragraph

3.45 Defendant admits that because of a miscommunication there was confusion over
whether the proposed schedule for Plaintiff complied with the Chancellor's letter. On
information and belief, Defendant admits that Dr. Lilly and Dean Johnson had not yet seen the
Chancellor’s letter, adding to the confusion. Except as expressly admitted, Defendant denies the
remaining allegations_of this paragraph

3.46 Defendant admits that Dr. Thompson emailed Denys Blell, Executive Vice
Chancellor of Human Resources asking for a meeting regarding the Chancellor’s letter. Upon
information and belief, Defendant admits that Dr. Wimbish emailed Plaintiff seeking
clarification on matching Plaintist schedule to the Chancellor’s letter. Defendant admits that
Dean Johnson spoke to Plaintiff before class; Defendant denies that Dean Johnson interrupted

Plaintiff s lecture.

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3.47 Defendant admits that Dean Johnson came to Plaintiff’s office to discuss
Plaintiffs schedule and that the two cordially discussed scheduling issues Except as expressly
admitted, Defendant denies the remaining allegations of this paragraph

3.48 Defendant denies any preferential treatment to l\/ls. Simon. Defendant admits that
Plaintiff approached Ms. Simon about trading classes and that Ms. Simon originally agreed to do
so, forgetting that she had committed to teach the class as part of a learning community, a
commitment she believed she needed to keep. Defendant admits that Plaintiff and Dean Johnson
continued to communicate about Plaintiff’ s schedule but denies that Dean Johnson took a class
from Plaintiff and gave it to Ms. Simon.

3 .49 Defendant admits that when Ms. Simon remembered her commitment to teach the
class as part of a learning community, she communicated that commitment to Plaintiff Except
as expressly admitted, Defendant denies the remaining allegations of this paragraph

3.50 Based upon the investigation conducted to date, Defendant has insufficient
information to admit or deny the allegations of this paragraph and must deny same at this time.

3.51 Defendant admits that Plaintiff expressed concerns about his Spring schedule and
raised questions about the viability of the classes Except as expressly admitted, Defendant
denies the remaining allegations of this paragraph

3.52 Defendant admits that one base load course included in Plaintiff’s proposed
scheduled called for the development of a new online curriculum. Defendant further admits that
as the faculty member for the new class, it was Plaintiff’s responsibility to develop the

curriculum. Except as expressly admitted, Defendant denies the remaining allegations of` this

paragraph

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3.53 Defendant admits that a prison class that was put on his Fall 2009 schedule was
not designed to end on December 10, 2009. However, Defendant denies that this was unusual
since prison classes were not taught on the same calendar as classes on campus Except as
expressly admitted, Defendant denies the remaining allegations of this paragraph

3.54 Defendant admits that Plaintiff and Defendant disagreed over whether extra
compensation was due. Except as expressly admitted, Defendant denies the remaining
allegations of this paragraph

3.55 Defendant admits that to address Plaintiff"s protests over teaching beyond
December 10, 2009, it accommodated him by finding another instructor to teach the remainder of
the course. This action also ensured that Plaintiff could start a full base load on campus in the
Spring 2010 semester without being encumbered by the prison class Except as expressly
admitted, Defendant denies the remaining allegations of this paragraph

3.56 Defendant incorporates by reference its response to paragraph 3.55. Defendant
admits that it retained a replacement instructor to teach the remainder of the prison program
class Except as expressly admitted, Defendant denies the remaining allegations of this
paragraph

3.57 Defendant denies the allegations of this paragraph

3.58 Defendant admits that Dr. Minger has met with Plaintiff Except as expressly
admitted, Defendant denies the remaining allegations of this paragraph

3.59 Defendant admits that it proposed using a third-party mediator, but denies that it
has refused to permit Dr. Tully to serve as a third party communication facilitator. Except as
expressly admitted, Defendant denies the remaining allegations of this paragraph

3.60 Defendant denies the allegations of this paragraph

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3.6] Defendant denies the allegations of this paragraph

3.62 Defendant has insufficient information to admit or deny if Dean Johnson gave
contact information to a student Defendant has insufficient information to admit or deny the
referenced email exchange with Dr. Minger and cannot accept Plaintiff’s characterization of the
alleged exchange Defendant denies any adverse action against Plaintiff s spouse. Defendant
denies the allegations of this paragraph

3.63 Defendant denies discriminatory or retaliatory conduct Upon information and
belief, Defendant admits that Plaintiff supplemented his complaints to administrative agencies
Defendant denies the remaining allegations of this paragraph

3.64 Defendant admits that Dr. Tully asked to meet with Plaintiff and that Dr.
Thompson also attended the meeting Defendant admits that during the meeting Dr. Tully
represented that the Chancellor believed Plaintiff"s issues should be able to be addressed
satisfactorily on campus Defendant denies that Dr. Tully communicated that the Chancellor
would never be involved under any circumstances Defendant denies the remaining allegations
of this paragraph

3.65 Defendant denies the allegations of this paragraph

3.66 Defendant denies the allegations of this paragraph

IV.
W

4.1 Defendant need not admit or deny the statement made in Paragraph 4.1 of the
Complaint regarding altemative pleading
A. Count One:

Violation of Title VII of the Civil Rights Act of 1964:
Discrimination and Retaliation

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4.2 Defendant incorporates its answers to Paragraphs 1.1 through 4.1 of the
Complaint.

4.3 Defendant denies the allegations in Paragraph 4.3 of the Complaint.

4.4 Defendant denies the allegations in Paragraph 4.4 of the Complaint.
B. Count Two:

Violations of Chapter 21 of the Texas Labor Code:
Discrirnjnation and Retaliation

4.5 Defendant incorporates its answers to Paragraphs l.l through 4.4 of the
Complaint.

4.6 Defendant denies the allegations in Paragraph 4.6 of the Complaint.

4.7 Defendant denies the allegations in Paragraph 4.7 of the Complaint.
C. Count Three:

Violations of the United States Constitution, Fifth and Fourteenth Amendments
and the Texas Constitution, Article I, § 8: Free Speech

4.8 Defendant incorporates its answers to Paragraphs l.l through 4.7 of the
Complaint.

4.9 Defendant denies the allegations in Paragraph 4.9 of the Complaint.

4.10 Defendant denies the allegations in Paragraph 4.10 of the Complaint.

4.11 Defendant denies the allegations in Paragraph 4.11 of the Complaint.

4. 12 Defendant denies the allegations in Paragraph 4.12 of the Complaint.
D. Count Four:

Violations of the United States Constitution, Fourteenth Amendment,
and the Texas Constitution, Article I, § 19: Procedural and Substantive Due Process

4.13 Defendant incorporates its answers to Paragraphs 1.1 through 4.12 of the

Complaint.

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4. 14 Defendant denies the allegations in Paragraph 4. 14 of the Complaint.
4.15 Defendant denies the allegations in Paragraph 4.15 of the Complaint.
4.16 Defendant denies the allegations in Paragraph 4.16 of the Complaint.
4.1'1r Defendant denies the allegations in Paragraph 4.17 of the Complaint.
4.18 Defendant denies the allegations in Paragraph 4.18 of the Complaint.
4.19 Defendant denies the allegations in Paragraph 4.19 of the Complaint.
4.20 Defendant denies the allegations in Paragraph 4.20 of the Complaint.
E. Count Five:

Violations of the United States Constitution, Fourteenth Amendment,
And the Texas Constitution, Article I §§ 3 and 3a: Equal Protection

4.21 Defendant incorporates its answers to Paragraphs l.l through 4.20 of the
Complaint.

4.22 Defendant denies the allegations in Paragraph 4.22 of the Complaint.

4.23 Defendant denies the allegations in Paragraph 4.23 of the Complaint.

4.24 Defendant denies the allegations in Paragraph 4.24 of the Complaint.

4.25 Defendant denies the allegations in Paragraph 4,25 of the Complaint.
F. Count Six:

Violations of 42 U.S.C. § 1981

4.26 Defendant incorporates its answers to Paragraphs 1.1 through 4.25 of the
Complaint.

4.27 Defendant denies the allegations in Paragraph 4.27 of the Complaint.

4.28 Defendant denies the allegations in Paragraph 4.28 of the Complaint.

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G. Count Seven:
Violations of 42 U.S.C. § 1985
4.29 Defendant incorporates its answers to Paragraphs 1.1 through 4.28 of the
Complaint.
4.30 Defendant denies the allegations in Paragraph 4.30 of the Complaint.
4.31 Defendant denies the allegations in Paragraph 4.31 of the Complaint.
H. Count Eight:

Violation of Chapter 106 of the Texas Civil Practices & Remedies Code:
Discrirnination Because of Race and/or Color

4.32 Defendant denies the allegations in Paragraph 4.32 of the Complaint.

433 Defendant denies the allegations in Paragraph 4.33 of the Complaint.

4.34 Defendant denies the allegations in Paragraph 4.34 of the Complaint.
l. Count Nine:

Breach of Contract

4.35 Defendant incorporates its answers to Paragraphs l.l through 4.34 of the
Complaint.

4.36 Defendant denies the allegations in Paragraph 4.36 of the Complaint.

4.37 Defendant denies the allegations in Paragraph 4.37 of the Complaint.

4.38 Defendant denies the allegations in Paragraph 4.38 of the Complaint.
J. Count Ten:

Federal Declaratory Judgment Act
4.39 Defendant incorporates its answers to Paragraphs l.l through 4.38 of the

Complaint.

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4.40 Defendant denies the allegations in Paragraph 4.40 of the Complaint.

V.
REQUESTED RELIEF

5.1 Defendant admits Plaintiff filed a Complaint alleging various violations of law by
Defendant, but denies that such violations occurred and avers there are no facts in law or equity
that would warrant granting the relief requested in Paragraph 5.1 of the Complaint.

5.2 Defendant admits Plaintiff filed a Complaint alleging various violations of law by
Defendant, but denies that such violations occurred and avers there are no facts in law or equity
that would warrant granting the relief requested in Paragraph 5.2 of the Complaint.

5.3 Defendant admits Plaintiff filed a Complaint alleging various violations of law by
Defendant, but denies that such violations occurred and avers there are no facts in law or equity
that would warrant granting the relief requested in Paragraph 5.3 of the Complaint.

5.4 Defendant admits Plaintiff filed a Complaint alleging various violations of law by
Defendant, but denies that such violations occurred and avers there are no facts in law or equity
that would warrant granting the relief requested in Paragraph 5.4 of the Complaint.

5.5 Defendant admits Plaintiff filed a Complaint alleging various violations of law by
Defendant, but denies that such violations occurred and avers there are no facts in law or equity
that would warrant granting the relief requested in Paragraph 5.5 of the Complaint.

5.6 Defendant admits Plaintiff filed a Complaint alleging various violations of law by
Defendant, but denies that such violations occurred and avers there are no facts in law or equity
that would warrant granting the relief requested in Paragraph 5.6 of the Complaint.

8.7 Defendant admits Plaintiff filed a Complaint alleging various violations of law by
Defendant, but denies that such violations occurred and avers there are no facts in law or equity

that would warrant granting the relief requested in Paragraph 5.7 of the Complaint.

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5.8 Defendant admits Plaintiff filed a Complaint alleging various violations of law by
Defendant, but denies that such violations occurred and avers there are no facts in law or equity
that would warrant granting the relief requested in Paragraph 5.8 of the Complaint.

5.9 Defendant admits Plaintiff filed a Complaint alleging various violations of law by
Defendant, but denies that such violations occurred and avers there are no facts in law or equity
that would warrant granting the relief requested in Paragraph 5.9 of the Complaint.

VI.
FEES, COSTS. AND INTEREST

6.1 Defendant admits Plaintiff retained the law firm of Hill Gilstrap, P.C., but is
without sufficient knowledge to admit or deny the allegations regarding the agreement between
Plaintiff and his counsel and therefore denies those allegations Defendant denies Plaintiff is
entitled to attorrreys’ fees as alleged in Paragraph 6.1 of the Complaint.

6.2 Defendant admits Plaintiff seeks to recover the fees alleged in Paragraph 6.2 of
the Complaint, but denies that such recovery is warranted and avers there are no facts in law or
equity that would warrant granting such recovery.

6.3 Defendant admits Plaintiff seeks to recover the fees alleged in Paragraph 6.3 of
the Complaint, but denies that such recovery is warranted and avers there are no facts in law or
equity that would warrant granting such recovery.

VII.
CONDITIONS PRECEDENT

7.1 Defendant denies the allegations in Paragraph 7.1 of the Complaint.

VIII.
DEMAND FOR JURY TRIAL

8.1 Defendant admits Plaintiff has requested a Jury Trial.

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PRAYER

Defendant is not required to admit or deny the allegations contained in the Prayer section
of Plaintiff s Complaint. However, Defendant avers there are no facts in law or equity that
would warrant granting such recovery.

DEFENDANT'S DEFENSES

l. With respect to some or all of Plaintiffs claims, the Complaint fails to state a
claim upon which relief can be granted

2. Some or all of the Plaintiff"s claims are barred, in whole or in part, to the extent
that they exceed the scope of or are inconsistent with the charge of discrimination plaintiff filed
with the EEOC.

3. With respect to some or all of Plaintiff’ s claims, plaintiff has failed to timely and
properly exhaust all administrative remedies

4. Some or all of Plaintiff’s claims are barred by the applicable statute of limitations

5 . Defendant affirmatively pleads that to the extent Plaintiff is able to prove that any
improper motive was a factor in relevant employment decisions made, the same employment
decisions regarding Plaintiff would have been made regardless of any alleged improper motive.

6. Defendant affirmatively pleads that Plaintiff”s claim for damages is barred in
whole or in part by his failure to mitigate his alleged damages

7 . Defendant has in place a clear and well-disseminated policy against discrimination
and a reasonable and available procedure for handling complaints thereof, which provides for
prompt and effective responsive action. To the extent Plaintiff unreasonably failed to take
advantage of the preventative or corrective opportunities provided by Defendant, or to avoid

harm otherwise, Plaintiff’s claims of alleged discrimination are barred

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8. Defendant’s conduct was performed or carried out in good faith based upon
reasonable grounds for believing that such conduct was not in violation of any state law, and
therefore, Plaintiff fails to state a claim for punitive damages

9. Any injury caused to Plaintiff was due in whole or in part to Plaintiff’s own
actions and/or inaction.

10. Plaintiff cannot state a claim pursuant to 42 U.S.C. §1981.

11. Application of 42 U.S.C. § 1983 and 1985 to Defendant has an impermissible
chilling effect on the internal academic affairs of Defendant

12. The provisions of the First, Fifth and Fourteenth Amendments to the United
States and Texas Constitutions do not apply to private conduct by Defendant

13. The Complaint fails to state a claim under 42 U.S.C. § 1985. Without limiting the
scope of the foregoing sentence, any such claim is barred by the absence of any conspiracy
cognizable under that statute and the absence of any state action.

14. Plaintiff has failed to plead the elements of a conspiracy with sufficient specificity
to put Defendant on notice of the claims against them, in violation Defendant’s right to due
process of law protected by the Fifth Amendment to the United States Constitution.

15 . Some of the Plaintiff"s claims are preempted or otherwise foreclosed by Title VII
of the Civil Rights Act of 1964J as amended, 42 U.S.C. §§ 2000e et seq., and/or by other federal
law.

16. Defendant hereby preserve any and all state and federal constitutional defenses to
punitive damages not set forth specifically herein, including those based on the due process

clauses of the United States and Texas Constitutions.

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17. Plaintiff’s claims fail because Defendant’s policies do not constitute a contract
between Plaintiff and Defendant

18. Defendant has complied in all respects with the material terms of any alleged
contract between Plaintiff and Defendant

19. Some of Plaintiff s claims are barred by the statute of frauds

20. Defendant asserts there are no facts in law or equity that would warrant granting
the declaratory relief requested by Plaintiff.

21. To the extent that Plaintiff seeks an overlapping or duplicative recovery pursuant
to his various claims for any alleged single wrong, Plaintiff must elect his remedies at the
appropriate time

22. Without conceding that Plaintiff has suffered any damages as a result of any
wrongdoing by Defendant, Plaintiff has failed to mitigate his damages if any.

23. There is no basis, and in any event, insufficient factual predicate, for Plaintiff’s
claim for exemplary damages

24. Plaintiff s exemplary damage claim is limited by TEX. CIV. PRAC. & REM. CODE §
41.008.

25. Defendants did not act willfully, recklessly or maliciously, and, therefore, an
award of exemplary damages is not appropriate

26. Plaintiff" s claims for exemplary damages are barred to the extent that the
imposition of punitive damages would constitute a denial of due process under the United States
Constitution and the Constitution of the State of Texas.

27. Plaintiff is not entitled to punitive damages and all damages sought are subject to

limits set by 42 U.S.C. § 1981a and the damage caps of Title VII.

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28. Defendant engaged in good faith efforts to comply with the Civil Rights Law.
Moreover, the conduct complained of by Plaintiff`, if performed or carried out, was performed or
carried out in good faith based upon reasonable grounds for believing that such conduct was not
in violation of Title Vll or any other statutory provision, and therefore plaintiff fails to state a
claim for punitive damages

29. Defendant is not liable for punitive damages because neither Defendant, nor any
of its employees sufficiently high in its corporate hierarchy, committed any act with malice or
reckless indifference to Plaintiff’s protected rights, or approved, authorized or ratiHed, or had
actual knowledge of any such acts
Defendants reserve the right to amend this Answer to assert additional affirmative defenses and
defenses as may be applicable during the course of this litigation

Respectfully submitted,

/ s Michael R. Buchanan

Michael R. Buchanan

State Bar No. 03288300

Kristin M. Snyder

State Bar No. 24046880

Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
8117 Preston Road, Suite 700

Dallas, TX 75225-4324

214-987-3 800

Facsimile: 214-987-3927
Mike.Buchanan@ogletreedeakins.com
KristinSnvder@ogletreedeakins.corn

ATTORNEYS FOR DEFENDANT

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CERTIFICATE OF SERVICE _

1 certify that on May 28, 2010, l electronically submitted the foregoing document with
the clerk of the court for the U.S. District Court, Northern District of Texas, using the electronic
case files system of the court. The electronic case files system sent a “Notice of Electronic
Filing” to the following CM/ECF participant

Frank Hill

Michael Y. Kim

Hill Gilstrap, P.C.

1400 West Abram Street
Arlington, Texas 76013
fhill@ rillgilstrap.com
mkim§rDhillgilstrap.com

/s Michael R. Buchanan
Michael R. Buchanan

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